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10
                                    UNITED STATES DISTRICT COURT
11
                  EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION
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13
     CURTIS LEMANN WILLIAMS JR, an                       Case No. 2:23-CV-01418-WBS-CKD
14   individual,
                                                         [Removed from Sacramento County Superior
15                     Plaintiff,                        Court, Case No. 23CV003244]

16          v.                                           STIPULATION AND ORDER TO
                                                         ELECT REFERRAL OF ACTION TO
17   AB CAR RENTAL SERVICES, INC., a                     VOLUNTARY DISPUTE RESOLUTION
     Delaware Corporation and DOES 1 through 100,        PROGRAM (VDRP) PURSUANT TO
18   inclusive,                                          LOCAL RULE 271

19                     Defendants.
                                                         Complaint Filed: June 13, 2023
20                                                       Removed: July 17, 2023

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                                                                 STIPULATION AND ORDER RE VDRP
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                                          2         STIPULATION AND ORDER RE VDRP
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 1            Pursuant to Local Rule 271, the parties hereby agree to submit the above-entitled action to

 2   the Voluntary Dispute Resolution Program.

 3   IT IS SO STIPULATED.

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 6                                                 LIPELES LAW GROUP, APC.
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 8
     Dated: November 17, 2023                                              ____________
 9                                                 KEVIN A. LIPELES
                                                   THOMAS H. SCHELLY
10                                                 Attorneys for Plaintiff
11                                                 CURTIS LEMANN WILLIAMS, JR.

12                                                 LITTLER MENDELSON, P.C.

13 Dated: November 20, 2023                        /s/ Jenny Burke
                                                   PATRICK HICKS
14                                                 DOUGLAS ROPEL
15                                                 JENNY BURKE
                                                   LITTLER MENDELSON, P.C.
16                                                 Attorneys for Defendant
                                                   AB CAR RENTAL SERVICES, INC.
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              IT IS SO ORDERED that this action is submitted to the Voluntary Dispute Resolution
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     Program. The Scheduling Conference is reset for March 25, 2024 at 1:30 p.m. An amended joint
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     status report shall be filed no later than March 11, 2024.
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     Dated: November 20, 2023
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                                                       3             STIPULATION AND ORDER RE VDRP
